       Case 3:05-cr-00116-RV         Document 102        Filed 12/28/05      Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION
UNITED STATES OF AMERICA

       VS                                                         CASE NO.      3:05cr116/RV

WINDELL LEVERE JONES

                                    REFERRAL AND ORDER

Referred to Judge Vinson on 12/27/2005
Type of Motion/Pleading EMERGENCY MOTION FOR PRETRIAL RELEASE
Filed by: defendant              on 12/23/05     Doc. No. 98,99
( ) Stipulated/Consented/Joint Pleading
RESPONSES:
                                 on              Doc. No.
                                 on              Doc. No.
                                 WILLIAM M. McCOOL, CLERK OF COURT

                                               /s/ C. Justice for J.Marbut
                                               Deputy Clerk

                                               ORDER
Upon consideration of the foregoing, it is ORDERED this  28th   day of
 December               , 2005, that:
(a) The requested relief is DENIED.
(b) However, the defendant may be released to the U.S. Marshals
     Service in accordance with their regulations for a visit to the
     child in the hospital the afternoon or evening of December 28,
     2006.

                                               /s/ Roger Vinson
                                               ROGER VINSON
                                               SENIOR UNITED STATES DISTRICT JUDGE




Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                                Document No.
